 Case 24-11029-1-rel       Doc 133 Filed 01/28/25 Entered 01/28/25 10:50:04               Desc
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So Ordered.

Signed this 28 day of January, 2025.



                                                 _______________________________
                                                    Robert E. Littlefield, Jr.
                                                    United States Bankruptcy Judge

                     IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF NEW YORK

IN RE:                                              )       Chapter 11
                                                    )
PRIME CAPITAL VENTURES, LLC                         )       Case No. 24-11029
                                                    )
                       Debtor                       )
                                                    )

                       ORDER GRANTING MOTION FOR LIMITED ADMISSION·
                                      PROHACVICE

          Upon consideration of the Motion for Limited Admission - Pro Hae Vice by Adam B.

Lawler for admission to appear pro hac vice on behalf of Farmers State Bank of Alto Pass, an

Illinois banking institution, together with the Certificate of Good Standing and Sworn Statement

of Attorney attached thereto, and payment having been made to the District Court Clerk, it is

hereby,

          ORDERED that Adam B. Lawler be, and the same hereby is admitted to this Court as

counsel pro hac vice. for Farmers State Bank of Alto Pass, an Illinois banking institution, in the

above-captioned bankruptcy case and any adversary proceedings, other contested matters or other

proceedings that arise herein.

                                   ###END OF ORDER###
